 Case: 21-60285   Document: 260   Page: 1     Date Filed: 10/25/2024




       United States Court of Appeals
            for the Fifth Circuit                       United States Court of Appeals
                                                                 Fifth Circuit

                         ___________                           FILED
                                                        October 25, 2024
                          No. 21-60285                    Lyle W. Cayce
                         ___________                           Clerk

Tesla, Incorporated,

                                            Petitioner Cross-Respondent,

International Union, United Automobile, Aerospace and
Agricultural Implement Workers of America, AFL-CIO,

                                                                Petitioner,

                             versus

National Labor Relations Board,

                                   Respondent Cross-Petitioner.
             ______________________________

                Petition for Review from an Order
               of the Board of Immigration Appeals
          NLRB Docket No. 32-CA-197020, 32-CA-197058,
                   32-CA-197091, 32-CA-197197,
                  32-CA-200530, 32-CA-208614,
                  32-CA-210879, 32-CA-220777,
            ______________________________

Before Elrod, Chief Judge, and Jones, Smith, Stewart, Dennis,
Richman, Southwick, Haynes, Graves, Higginson,
Willett, Duncan, Engelhardt, Oldham, Wilson,
 Case: 21-60285           Document: 260          Page: 2     Date Filed: 10/25/2024

                                       No. 21-60285




Douglas, and Ramirez, Circuit Judges. *

                                  JUDGMENT

       This cause was considered on the petition of for review of an order of
the Board of Immigration Appeals and was argued by counsel.
       IT IS ORDERED and ADJUDGED that the decision of the Board
of Immigration Appeals is VACATED, and the cause is REMANDED to
the Board of Immigration Appeals for further proceedings in accordance with
the opinion of this court.
       IT IS FURTHER ORDERED that respondent pay to petitioners
the costs on appeal to be taxed by the Clerk of this Court.
       The judgment or mandate of this court shall issue 7 days after the time
to file a petition for rehearing expires, or 7 days after entry of an order denying
a timely petition for panel rehearing, petition for rehearing en banc, or motion
for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.




       *
           Judge Ho is recused and did not participate in this decision.




                                             2
